
720 S.E.2d 10 (2012)
STATE
v.
Tony Savalis SUMMERS.
No. 328A11-1.
Supreme Court of North Carolina.
January 5, 2012.
Shelagh R. Kenney, Durham, for Summers, Tony Savalis.
*11 Steven Cole, Assistant District Attorney, for State of N.C.
Robert C. Montgomery, Senior Deputy Attorney General, for State of N.C.
J. Douglas Henderson, District Attorney, for State of N.C.
The following order has been entered on the motion filed on the 2nd of August 2011 by Defendant for Extension of Time to Prepare Trial Transcript:
"Motion Allowed by order of the Court in conference, this the 5th of January 2012."
